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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA

TINA M. CORDOBA BRINKLEY,                   )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )   Case No. CIV-05-0155-F
                                            )
JO ANNE B. BARNHART,                        )
Commissioner of the Social Security         )
Administration,                             )
                                            )
      Defendant.                            )

                                        ORDER
      Pursuant to 42 U.S.C. § 405(g), plaintiff seeks judicial review of the final
decision of the defendant Commissioner denying plaintiff’s application for a closed
period of supplemental security income benefits under Title XVI of the Social
Security Act, 42 U.S.C. § § 416(i), 1382. In his Report and Recommendation of
December 16, 2005 (doc. no. 19), Magistrate Judge Gary M. Purcell recommends that
the Commissioner’s decision denying benefits be affirmed.
      Plaintiff has filed a timely objection to the Report and Recommendation
(Report), raising three points of error with respect to the decision of the administrative
law judge (ALJ) and the magistrate judge’s recommendation that the decision of the
ALJ be affirmed. (Objections at doc. no. 22; Report at doc. no. 19.) First, plaintiff
contends that the magistrate judge incorrectly concluded that the ALJ did not commit
reversible legal error by failing to conduct the analysis required by 20 C.F.R. §
416.920a, despite finding that plaintiff suffered from severe mental impairments.
Second, plaintiff contends that the magistrate judge erred in concluding that the ALJ
properly evaluated Dr. Cail’s medical opinions relating to plaintiff’s fibromyalgia and
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its effect on plaintiff’s physical condition and ability to work. Third, plaintiff
contends that the magistrate judge’s conclusion that substantial evidence supported
the ALJ’s failure to include any limitations in plaintiff’s residual functioning capacity
relating to plaintiff’s admittedly severe mental impairments, is legally incorrect. The
court has reviewed all objected to matters de novo as required by 28 U.S.C. § 636, and
has reviewed all other matters as well.
      Having reviewed all issues, the court finds that no purpose would be served by
restating here any of the magistrate judge’s findings or analyses, and the court
concludes that none of the matters presented in plaintiff’s objections support any
findings or determinations different from those already found or recommended by the
magistrate judge. In addition to the authorities relied upon by the magistrate judge in
his Report, the court notes that the harmless error doctrine also supports the result
recommended by the magistrate judge in this action. See, Fischer-Ross v. Barnhart,
431 F.3d 729, 733-34 (10th Cir. 2005), quoting Allen v. Barnhart, 357 F.3d 1140,
1145 (10th Cir. 2004) (although applied cautiously in the administrative review
setting, harmless error analysis “nevertheless may be appropriate to supply a missing
dispositive finding...where, based on material the ALJ did at least consider (just not
properly), we could confidently say that no reasonable administrative factfinder,
following the correct analysis, could have resolved the factual matter in any other
way”).
                                      Conclusion
      Having carefully considered the parties’ submissions to this court and to the
magistrate judge, the decision of the administrative law judge, the entire record and
transcript of proceedings relating to this case, and all relevant authorities, plaintiff’s
objections to the Report are DENIED, and the Report and Recommendation of



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Magistrate Judge Gary M. Purcell is ACCEPTED, ADOPTED, and AFFIRMED in
its entirety. The Commissioner’s decision denying benefits is AFFIRMED.
       Dated this 15th day of February, 2006.




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